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                                 UNITED STATES DISTRICT COURT
11                              NORTHERN DISTRICT OF CALIFORNIA

12   VICIOUS BRANDS, INC. dba SAINTS &           Case No. 3:24-cv-04996-LJC
     SINNERS HAIRCARE, a Nevada
13
     corporation,                                [PROPOSED] ORDER DENYING
14                                               DEFENDANTS’ MOTION TO DISMISS
                   Plaintiff,                    COMPLAINT FOR LACK OF
15                                               PERSONAL JURISDICTION AND
           v.                                    IMPROPER VENUE
16
     HOLLY CUTLER, an individual, THE SKIN
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     SAINT, LLC, a Michigan limited liability
18   company, FACE CO., LLC, a Michigan
     limited liability company,
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                   Defendants.
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     Case No. 3:24-cv-04996-LJC                    [PROP] ORDER DENYING DEFENDANTS’
                                                   MTN TO DISMISS
        Case 3:24-cv-04996-LJC Document 21-3 Filed 10/11/24 Page 2 of 2



1                                     [PROPOSED] ORDER

2           Having considered Defendants Holly Cutler, The Skin Saint, LLC, and Face Co.,

3    LLC (“Defendants”)’s Motion to Dismiss Complaint for Lack of Personal Jurisdiction and

4    Improper Venue (“Motion to Dismiss”), all opposing and reply papers and evidence, the

5    files and records of this action, any oral argument, and finding good cause appearing, the

6    Court hereby finds and orders as follows:

7           IT IS HEREBY ORDERED that Defendants’ Motion is DENIED.

8           IT IS SO ORDERED.

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     DATED: ___________________
10                                                   UNITED STATES MAGISTRATE JUDGE
11                                                   LISA J. CISNEROS

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     Case No. 3:24-cv-04996-LJC                         [PROP] ORDER DENYING DEFENDANTS’
                                                 1      MTN TO DISMISS
